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                                                                                 E-FILED
                                               Friday, 03 December, 2021 05:12:36 PM
                      UNITED STATES DISTRICT COURT        Clerk, U.S. District Court, ILCD
                          CENTRAL DISTRICT OF ILLINOIS
                             SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
             Plaintiff,                     )
      v.                                    )     Case No. 18-30005
                                            )
MOHANAD AL-MATARNEH,                        )
                                            )
             Defendant.                     )


           GOVERNMENT’S CONSENT TO VIDEO CONFERENCING
      The United States of America, by its attorneys, Douglas J. Quivey,

Acting United States Attorney for the Central District of Illinois, and

Timothy A. Bass, Assistant United States Attorney, hereby states as follows:

      Pursuant to this Court’s November 22, 2021, text order, the

government consents to the sentencing hearing of the defendant being

conducted by video conference.


                                Respectfully submitted,

                                DOUGLAS J. QUIVEY
                                ACTING UNITED STATES ATTORNEY

                                BY:   s/Timothy A. Bass
                                      Timothy A. Bass, Bar No. MO 45344
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                         CERTIFICATE OF SERVICE
      I hereby certify that on December 3, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will
send notification of such filing to:
     Counsel of Record


                                   s/Timothy A. Bass
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